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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                             MDL No. 2380
IN RE: SHOP-VAC MARKETING
AND SALES PRACTICES                          Civil Action No. 4:12-md-02380-YK
LITIGATION
                                             (Chief Judge Yvette Kane)

THIS DOCUMENT RELATES TO:
All Cases


       PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS
      SETTLEMENT, CERTIFICATION OF SETTLEMENT CLASS,
      APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS
     COUNSEL, AND PLAINTIFFS’ APPLICATION FOR AWARD OF
      ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES, AND
          SERVICE AWARDS TO CLASS REPRESENTATIVES

      Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs Andrew Harbut,

Alan McMichael, Kris Reid, David Palomino, and Scott Giannetti hereby move

this Court for an entry of Order: (1) granting final approval of the Settlement; (2)

granting certification of a nationwide Settlement Class; (3) appointing Andrew

Harbut, Alan McMichael, Kris Reid, David Palomino, and Scott Giannetti as

representatives of the Settlement Class, and the law firm Dilworth Paxson LLP as

Liaison Counsel and the law firms Faruqi & Faruqi, LLP, Lax LLP, Lite DePalma

Greenberg, LLC, and Milberg LLP as Class Counsel for the Settlement Class; and

(4) granting an award of attorneys’ fees, expenses and service awards in the sum of

$4,250,000. A copy of the proposed order is attached for the Court’s convenience.

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      The Motion is based on the accompanying memorandum of law in support

thereof, the Declaration of Robert I. Lax in Support of the Motion for Final

Approval of the Proposed Settlement and Application for an Award of Attorneys’

Fees and Reimbursement of Expenses, the Declarations of James J. Rodgers,

Adam R. Gonnelli, Bruce D. Greenberg, Sanford P. Dumain, Robert I. Lax, Jon

Herskowitz, William J. Pinilis, Michael R. Reese, and Bonner C. Walsh, with

annexed exhibits, and the Declarations of Andrew Harbut, Alan McMichael, Kris

Reid, David Palomino, and Scott Giannetti, as well as any additional written or

oral submissions this Court may request or require.

Dated: July 25, 2016                  Respectfully Submitted,

                                      DILWORTH PAXSON LLP

                                      By:   /s/ James J. Rodgers
                                             James J. Rodgers
                                             jrodgers@dilworthlaw.com
                                      Penn National Insurance Plaza
                                      2 North 2nd Street
                                      Suite 1101
                                      Harrisburg, PA 17101
                                      Telephone: (717) 236-4812
                                      Facsimile: (717) 236-7811

                                      Interim Liaison Counsel




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                           FARUQI & FARUQI LLP

                           By:   /s/ Adam R. Gonnelli
                                 Adam R. Gonnelli
                                 agonnelli@faruqilaw.com
                           685 Third Avenue, 26th Floor
                           New York, NY 10017
                           Telephone: (212) 983-9330
                           Facsimile: (212) 983-9331

                           Interim Class Counsel


                           LAX LLP

                           By: /s/ Robert I. Lax
                                 Robert I. Lax
                                 rlax@lax-law.com
                           380 Lexington Avenue, 31st Floor
                           New York, NY 10168
                           Telephone: (212) 818-9150
                           Facsimile: (212) 208-4309

                           Interim Class Counsel




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Case 4:12-md-02380-YK Document 172 Filed 07/25/16 Page 4 of 6



                           MILBERG LLP

                           By: /s/ Sanford P. Dumain
                                 Sanford P. Dumain
                                 sdumain@milberg.com
                                 Andrei Rado
                                 arado@milberg.com
                                 Jennifer Czeisler
                                 jczeisler@milberg.com
                           One Penn Plaza
                           New York, NY 10119-0165
                           Telephone: (212) 594-5300
                           Facsimile: (212) 868-1229

                           Interim Class Counsel


                           LITE DePALMA GREENBERG LLC

                           By: /s/ Bruce D. Greenberg
                                 Bruce D. Greenberg
                                 bgreenberg@litedepalma.com
                           570 Broad Street, 12th Floor
                           Newark, NJ 07102
                           Telephone: (973) 623-3000
                           Facsimile: (973) 623-0211
                           Interim Class Counsel




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                           BARON & HERSKOWITZ
                           Jon Herskowitz
                           jon@bhfloridalaw.com
                           9100 South Dadeland Boulevard
                           One Datran Center, Suite 1704
                           Miami, FL 33156
                           Telephone: (305) 670-0101
                           Facsimile: (305) 670-2393

                           Executive Committee Member

                           PINILISHALPERN LLP
                           William J. Pinilis
                           wpinilis@consumerfraudlawyer.com
                           160 Morris Street
                           Morristown, NJ 07962
                           Telephone: (973) 401-1111
                           Facsimile: (973) 401-1114

                           Executive Committee Member

                           REESE LLP
                           Michael R. Reese
                           mreese@reesellp.com
                           100 West 93rd Street, 16th Floor
                           New York, NY 10025
                           Telephone: (212) 643-0500
                           Facsimile: (212) 253-4272
                           Executive Committee Member

                           WALSH PLLC
                           Bonner C. Walsh
                           bonner@walshpllc.com
                           3100 SCR 406
                           PO BOX 1343
                           Sonora, TX 76950
                           Telephone: (903) 200-6069
                           Facsimile: (866) 503-8206

                           Executive Committee Member
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